17-36789-cgm   Doc 73-3   Filed 04/01/19 Entered 04/01/19 16:20:09   Exhibit B -
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17-36789-cgm   Doc 73-3   Filed 04/01/19 Entered 04/01/19 16:20:09   Exhibit B -
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17-36789-cgm   Doc 73-3   Filed 04/01/19 Entered 04/01/19 16:20:09   Exhibit B -
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17-36789-cgm   Doc 73-3   Filed 04/01/19 Entered 04/01/19 16:20:09   Exhibit B -
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